ST.ATE OF INDIANA_, COUNTY OF 3_\""IARION, SS:

DEFEND/-\NT NAl\/|Ej LEROY 5 V\/ASH|NGTON

LOCAT|ON OF lNClDENT; E 36TH ST/N DENNY ST NDZS
DATE OF |NC|DENT; 09/21/2016 CASE #: DP160114412-0000

SLATED CHARGES. OBSTRUCT|ON OF JUSTiCE /F/CONTROLLED SUBSTANCE~ POSSESSlON OF
P/-\RAPHERNAL|A /l\/!/CONTROLLED SUBSTANCE- I\/|ANUFACTURE/DEAL|NG MAR!JUANA/HASH|SH/SAL\/l/-\
/F/RES|ST|NG LAVV ENFORCEl\/IENT /F

ARREST!NG OFFICER. CHR|STOPHER RYNARD
OFF|CER |D; 32664

AGENCY' IND|ANAPOI_|S POL|CE DEPART|\/!ENT

ON \/\/EDNESDAY, SEPTE[\/|BER 21` 2016 AT APPROXll\/|ATELY 0101AM:1,0FF|CER C, RYNARD VV|TH THE
IND|ANAPOL|S |\/\ETROPOL|TAN POL|CE DEPART|\/|ENT OBSER\/ED A S|L\/ER \/EHICLE TRAVEL|NG NORTH ON
SHER|\/IAN DRl\/E AT A H|GH RATE OF SPEED. V\/HEN l CAUGHT UP TO THE \/EH|CLE, |T TURNED |NTO A STR|P
|\/|ALL PARK|NG LOT ON THE SOUTH \/\/EST CORNER OF 38TH AND SHERI\/|AN DR. ICONT|NUED TO THE
|NTERSECTION \/\/HERE l THEN OBSER\/ED THE SAME \/EH|CLE AT THE STOP S|GN OF 38TH AND STAT|ON_ l
TURNED DOWN STAT|ON AND TR|ED TO |\/|AKE MY VVAY BEH!ND THE VEH|CLE THE \/EH|CLE THEN TURNED
WENT VVEST ON 38TH STREET AT A H|GH RATE OF SFEED V\/HEN l TURNED AROUND AND GOT BACK TO
38T|-| STREET AND TRAVEL|NG V\/EST BEH|ND THE \/EH|CLEl | OBSER\/ED THE \/EH|CLE TURN |N FRONT OF A
FULLY I\/|ARKED SHER|FFS DEPUTY \/EH!CLE, ANDRE OSNEL (|D# 31206), TO GO SOUTH ON GALE STREET_ AS
THE \/EH|CLE V\/AS TURN!NG SOUTH ON GALE STREET IT I\/\ADE THE DEPUTYS \/EH|CLE STOP ABRUPTLY AND
GO |NTO ONCO|\/||NG TRAFFIC TO AVO{D COLL|S|ON. THE \/EH|CLE CONT|NUED AT A H|GH RATE OF SPEED
SOUTH ON GALE STREET \/\/HERE HE THEN TURNED EAST ON 36TH STREET AND APPROACHED SHERl\/|AN
DR AS SOON AS THE \/EH|CLE CROSSED O\/ER SHER!\/\AN DR, |N |\/lY FULLY MARKED POL|CE \/EH|CLE|
ACT|VATED |\/lY EMERGENCY L|GHTS AND lNlTlATED A TRAFF|C STOP AT 3600 N. DENNY STREET ON /~\
SILVER CHE\/ROLET |\/|AL|BU, |_lCENSE PLATE196NJB, DEPUTY OSNEL ASS!STED l\/lE IN THE TRAFF|C STOP. l
APPROACHED THE DR|\/ER AND ASKED H|M \/\/HY HE VVAS DR|\/ING L|KE HE \/\/AS AND HE SHOVVED I\/|E H|S
PHONE STAT|NG THAT |T H|S GPS V\/AS MESS|NG UP. \/VHILE SPEAK|NG TO THE DR|\/ER, | OBSER\/ED A BOOK
BAG lN THE VEH|CLE V\/|TH A STAR PATTERN ON |T | RETR|E\/ED THE DR|\/ERS LICENSE /-\ND REG|STRAT|ON
AND V\/ENT BACK TO l\/|Y POL|CE \/EH|CLE |CONF!R|\/|ED THE DR|VER THROUGH A |ND|ANA DRf\/ERS
L|CENSE AS LEROY V\/ASH|NGTON. |\/\/ENT BACK UP TO THE VEH|CLE AND ASKED MR VVASH|NGTON TO
TURN OFF THE \/EH|CLE AND TO STEP OUT OF THE VEH|CLE. VVHEN | OPENED THE DR|\/ERS DOOR, MR.
VVASH|NGTON PUT H|S VEH[CLE lN DR|\/E AND TOOK OFF FRO|\/| OFF|CERS. AS | VVAS RUNN|NG BACK TO I\/lY
POL|CE \/EHICLE, | NOT|F!ED CONTROL THAT 1 HAD A PERSON RUNN|NG AND THAT | V\/AS |N \/EH|CLE
PURSU|T. | PURSUED MR. VVASH|NGTON GOING EAST ON 36TH STREET GOING ABOUT 40 MPH WI`|'H NO
TRAFF|C_ MR. V\//-\SH|NGTON VVAS A COUPLE STREETS AHEAD OF ME V\/HEN HE TURNED SOUTH ON TO
GRANT AVE. |THEN PURSUED NlR. V\/ASH|NGTON T|LL HE STOPPED H|S VEH|CLE AT 34TH /-\ND GRANT
A\/ENUE. |\/|R. VV/-\SHINGTON VVAS THEN APPREHENDED BY OFFICERS. |THEN READ I\/IR VVASHINGTON H|S
|\/l|RAND/\ R|GHTS lN V\/H|CH HE STATED HE UNDERSTOOD. V\/H|LE LOOK{NG |NTO THE \/EH|CLE l NOT|CED
THAT THE BOOK BAG TH/~\T V\/AS |N THE \/EH|CLE BEFORE VVAS M|SS|NG. VVH!LE SEARCH|NG MR.
V\/ASHINGTON |NC|DENT TO ARREST, l FOUND A BUNDLE OF [\/|ONEY |NSlDE H|S PANTS. |RETR|EVED 3468
DOLLARS FROM [\/lR. V\/ASH|NGTON |N AN ASSORTl\/|ENT OF DENOM|NAT|ONS_ MR. VVASH|NGTON HAD13-$1

l swear (affrrrn) under penalty of perjury as specified by IC 35-44-2~1 that tl:`le foregoing representations

are true

   

 

 

 

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D€puty Proseeuting Attorney ludg€, Marion Superior Court

Nineteenth Judical Cireuit

 

 

B||_LS; 23-55 B|Ll_Sj 16-$10 B|LLS, AND 9-$20 B|LLS COM|NG OUT TO BE 5468 DOLLARS THROUGH TRA|N|NG
AND EXPER|ENCE l RECOGN!ZED THAT TH|S ASSORT|\/\ENT OF [\/|ONEY 18 ASSOC|ATED V\/ITH DEAL|NG |N
N/-\RCOT|CS. OFF|CER [\/lA`|'HE|S (|D# 40485) DRO\/E THE ROUTE OF THE PURSUIT AND NOT|F|ED f\/IE THAT HE
HAD FOUND A BOOK BAG IN FRONT OF 3521 N. GRANT A\/ENUE V\/H|CH V\/AS A BLOCK NORTH OF WHERE l\/\R
V\/ASH|NGTON STOPPED H|S \/EH|CLE. lARRi\/ED V\/HERE OFF|CER MATHE|S |_OCATED THE BAG AND
RECOGN|ZED |T TO BE THE SA[\/|E BAG |NS|DE N|R. VVASH|NGTONS \/EH|CLE. V\/H|LE S`|'AND|NG O\/ER THE
BOOK BAG, THROUGH |\/IY TRA|NiNG AND EXPER|ENCE, | COULD Sl\/|ELL /-\ND ODOR OF RAVV I\/lAR|JU/\NA
CO|\/HNG FROI\/| THE BOOK BAG. lNSlDE THE FRONT POCKET l LOCATED /-\ DIG|TAL SCALE AND A CLE/-\R

.PLAST|C BAG CONTA|N|NG A GREEN LEAFY SUBSTANCE THROUGH TRA|NING AND EXPER|ENCE|
RECOGN|ZED THE SUBSTANCE TO BE l\/\AR|JUANA |OPENED THE |\/|IDDLE POCKET TO THE BOOK BAG AND
OBSER\/ED A BROKEN JAR VV|TH AN ABUNDANCE OF |\/\AR|JUAN/-\ |NSIDE OF |T. E\/IDENCE TECH LY (|D#
30725) \/VAS DlSPATCHED TO THE SCENE TO TAKE PHOTOS AND TO GET POSS|BLE PR|NTS. E\/|DENCE TECH
l_Y V\!AS ABLE TO RETR|E\/E A PART|AL PR|NT OFF OF THE BOOK BAG. | RECO\/ERED THE BOO_K BAG AND
TRANSPORTED |T BAG TO 3400 N. GRANT A\/E. THROUGH TRA|N|NG AND AND EXPER|ENCE | RECOGN|ZED
V\/ITH THE ASSORTI\/|ENT OF [\/IONEY, A D|G|T/-\L SCALE, AND THE ABUNDANCE OF |\/|AR|JUANA TO BE
CO|\/||\/\ON !N DEAL!NG NARCOTICS. OFF}CERS ASKED I\/|R. WASH|NGTON lF THE MAR|JUANA VVAS FOR
PERSONAL USE OR TO SELL AND HE STATED THAT THE ABUNDANCE OF MAR|JUANA WAS FOR HH\/!SELF.
|\/lR. V\/ASH¥NGTON VVAS ARRESTED FOR FLEE|NG BY A \/EH|CLE, DEAL|NG |N l\/IARUUANA, AND POSSESS|ON
OF PARAPHERNAL|A. MR VVASH|NGTONS VEH|CLE THAT V\/AS REG|STERED V\/AS TOV\/ED TO AUTORETURN
TO BE FORFE|TED DUE `I'O BEING ASSOC!ATED V\/|TH DEAL|NG |N NARCOT|CS VV|TH THE NARCOT|CS |N THE
\/EH|CLE_ |\/\R. VVASH|NGTON V\/AS TRANSPORTED TO THE APC BY l\/|AR|ON COUNTY V\/AGONv |
TRANSPORTED THE !\/|ONEY AND E\/|DENCE TO THE PROPERTY ROOf\/l. THE E\/|DENCE \/\/AS LEFT IN THE
BOOK BAG AND PLACED |N A BOX THAT V\/AS SEALED UP |PLACED THE 5468.00 lN AN EN\/ELOPE TO BE
FORFE|TED DUE TO BE|NG ASSOC|ATED V\/|TH DEAL|NG NARCOTICS. AL|_ E\/ENTS OCCURRED |N I\/l/~\RlON
COUNTY; lNDlANA.

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.§“F/»t St-tsi§\<":e+e€i A/mi/ij`mtm --Feg`gre,:i @U§it/i`\/€ air ’LM,.L{,D Qmwt§..

l swear (affirm) under penalty Of perjury as specified by IC 35-44-2-1, that the foregoing representations
are true. '

  
   

Dated: V@ fill " , l
léaw Enforcernent Ofticer

 

 

Deputy Prosecuting Attorney Judge_, Marion Superior Court
Nineteenth Judical Circuit

 

 

